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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 17-CV-24404-SMITH/LOUIS

  LEE CLANCY FORD, as Mother and
  Next Friend of Jane Doe, a Minor,

         Plaintiff,

  v.

  NCL BAHAMAS LTD., a Bermuda company
  d/b/a NORWEGIAN CRUISE LINES,

        Defendant.
  ____________________________________/

                                               ORDER

         THIS CAUSE comes before the Court upon Defendant’s Objections (ECF No. 112)

  (“Objections”) to the Magistrate Judge’s Order (ECF No. 96) (“Order”) granting in part

  Defendant’s Daubert Motion (ECF No. 86) (“Motion”). Defendant objects to the portion of the

  Order which denies Defendant’s Motion to exclude the expert opinions of Dr. Jan Venter and Dr.

  Beatrice Golomb. The Court has reviewed Defendant’s Objections, the record and applicable law,

  and is otherwise fully advised in the premises.

          Rule 72(a) of the Federal Rules of Civil Procedure requires the Court to modify or vacate

  a Magistrate Judge’s order to the extent that the order “is clearly erroneous or is contrary to law.”

  Fed. R. Civ. P. 72(a). A finding is “clearly erroneous” when although there is evidence to support

  it, the reviewing court on the entire evidence is left with the definite and firm conviction that a

  mistake has been committed. Krys v. Lufthansa German Airlines, 119 F.3d 1515, 1523 (11th Cir.

  1997). An order is contrary to law when it fails to apply or misapplies relevant statutes, case law



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  or rules of procedure. Tolz v. Geico Gen. Ins. Co., No. 08-80663-CIV, 2010 WL 384745, at *2

  (S.D. Fla. Jan. 27, 2010).

         Upon consideration of the Objections, Defendant has failed to allege the commission of

  clear error or ruling contrary to law in Judge Louis’s Order. Defendant raises three principal

  objections: (1) that Dr. Venter’s expert report fails to satisfy the requirements of Rule 26(a)(2)(B)

  because his opinions go beyond those of a treating physician; (2) that Dr. Venter is unqualified to

  opine regarding the effects of fluoroquinolones and the treatment and duration of any alleged

  symptoms and Plaintiff’s prognosis; and (3) that Dr. Golomb’s opinions are the product of an

  unreliable methodology. These objections and their corresponding arguments are identical to those

  originally raised in Defendant’s Daubert motion that were already thoroughly and thoughtfully

  considered by Judge Louis. Compare Motion at 7-12 with Objections at 4-12. (internal citations

  omitted). As such, Defendant has failed to allege that any portion of Judge Louis’s Order is clearly

  erroneous or is contrary to law, and has merely rehashed the arguments from its motion. See Ritz

  v. Wipro Corp., No. 14-61273-CIV, 2015 WL 846853, at *6 (S.D. Fla. Feb. 26, 2015) (overruling

  objections to Magistrate Judge’s order which were essentially rehashed from the objecting party’s

  original motion and were already considered by the Magistrate Judge); c.f. Hall v. Sargeant, No.

  18-CV-80748, 2018 WL 6019221, at *1 (S.D. Fla. Nov. 16, 2018) (“It is improper for an objecting

  party to ... submit [ ] papers to a district court which are nothing more than a rehashing of the same

  arguments and positions taken in the original papers submitted to the Magistrate Judge.”).

  Moreover, the Court finds Judge Louis’s Order to be well-reasoned and correct, and finds no

  reason to vacate or otherwise modify it.




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       Accordingly, it is hereby ORDERED that Defendant’s Objections (ECF No. 112) are

  OVERRULED.

       DONE AND ORDERED in Fort Lauderdale, Florida this 23rd day of July, 2019.




                                               RODNEY SMITH
                                               UNITED STATES DISTRICT JUDGE




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